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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-4830-GW(KSx)                                            Date      October 17, 2019
 Title             Hermelinda Luna, et al. v. Johnson and Johnson, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Terri A. Hourigan
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Michael A. Akselrud                                     Elyse D. Echtman
                        Alex Brown                                            Natalie Nahabet
 PROCEEDINGS:                PLAINTIFFS' MOTION FOR VOLUNTARY DISMISSAL PURSUANT
                             TO FED. R. CIV. P. 41(a)(2) [96]

                             DEFENDANTS' MOTION RE APPLICATION FOR FEES AND COSTS
                             [120]


The Court’s Ruling on Motion for Voluntary Dismissal is circulated and attached hereto. Court and
counsel confer. For reasons stated on the record, the Motions are GRANTED. Plaintiffs are to pay
Defendants the amount indicated in the Court’s Ruling by December 16, 2019. If such payment is
completed, the Court will then dismiss the matter upon Plaintiffs’ presentation of an appropriate order.




                                                                                                   :     04
                                                               Initials of Preparer   JG
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Luna, et al. v. Johnson & Johnson, et al., Case No. 2:18-cv-04830
Ruling on Motion for Voluntary Dismissal Pursuant to Fed. R. Civ. P. 41(a)(2)



         As the Court previously explained in this matter, see Docket No. 106, it has conditioned Plaintiffs’
voluntary dismissal of this case upon payment of fees and costs that Defendants incurred and that the
Court felt were “unlikely to be useful to Defendants in any future litigation on this subject.” Id. at pg. 4 of
5. Defendants have attempted to convince the Court to grant them fees and costs associated with more
work than the list of work the Court indicated in Docket No. 106 that it was inclined to compensate them
for; but the Court has not been convinced by Defendants’ effort at explaining why they believe such work
is “unlikely to be useful to Defendants in any future litigation on this subject.” Similarly, however, the
Court rejects Plaintiffs’ attempt to have the Court reduce that list of compensable litigation endeavors.
         The Court finds the amount of time spent on the approved-projects to be reasonable, and sees no
need to conduct an in-camera review of Defendants’ counsel’s unredacted bills. As to rates, it finds that
all are reasonable1 (considering this District as the relevant market) with the exception of the rate used for
the most-expensive partner employed in the matter. That rate (which is submitted herein under seal) –
after discounting – exceeds the highest top-end rate of almost all of the sources Defendants offer for
comparison. See Docket No. 132-1, at 5:4-13, 6:24-7:19, 8:3-9:1. Though the Court has no particular
reason to question the quality of that attorney, the Court is unwilling to go along with the other courts that
have concluded lawyer’s rates exceeding that rate are reasonable, even if such certain corporations are
willing to pay such rates. As a result, the Court reduces the rate for that attorney from the amount
identified to $985.21 per hour, the average for the high-end partner rates in the comparison figures the
Defendants themselves provided in the citations just referenced.2
         The Court has reviewed Exhibits A, C, D, F, H, J, K, M and O to the Declaration of Elyse D.
Echtman in Support of Defendants’ Application for Fees and Costs, Docket No. 132-2, and has totaled up
the hours the attorney in question spent on the matters the Court has deemed compensable. According to
the Court’s calculations, reducing the rate requested for that attorney to $985.21 for the hours he spent on
the compensable activity results in an overall fee reduction for Defendants’ counsel’s work in the amount
of $9,632.72.
         For the activity the Court had previously identified in Docket No. 106 as compensable,
Defendants’ counsel billed $584,024.99. As a result, the Court will condition voluntary dismissal of this
action upon payment of $574,392.27 in attorney’s fees ($584,024.99 - $9,632.72) and $8,301.63 in costs.
         The Court grants the motion for voluntary dismissal for the reasons set forth in Docket No. 106,
grants Defendants’ application for fees and costs filed in association with their opposition to that motion
for voluntary dismissal in the amounts set out above.
         Plaintiffs are to pay Defendants the above amount by December 16, 2019. If such payment is
completed, the Court will then dismiss the matter upon Plaintiffs’ presentation of an appropriate order.




1
 Plaintiffs themselves admit that defendants’ counsel’s “rates align with those charged by the nation’s fifty
priciest law firms.” See Docket No. 135-1, at 3:1-2. Whether or not defendants’ counsel is one of the fifty best
law firms in the nation, the Court has no hesitation concluding that they are at least in the ballpark.

2
 ($892.00 + $1,200.00 + $930.00 + $886.50 + $1,200.00 + $900.00 + $897.00 + $896.85 + $1,110.00 + $975.00
+ $950.00) ÷ 11 = $985.21.
